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IN THE UNITED STATES DISTRICT COURT FOR}| | . FEB - 7 2020 |,
THE EASTERN DISTRICT OF VIRGINIA

 

 

    

 

 

 

“5. DISTRICT COURT
CoE CANDRIA. VIRGINIA

 

UNITED STATES OF AMERICA

V. é,
Criminal No. 1:20-mj-54
COREY O’NEAL PHIPPS, JR.,

Defendant.

 

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
I, Nobi Thomas, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives, being first duly sxvont hereby depose and state as follows:
INTRODUCTION AND BACKGROUND
tL I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and —
Explosives (“ATF”) and have been so employed since September of 201 8. Iam currently assigned
to the ATF Washinton Field Division’s Group I. My assignments include investigating
individuals who are involved in the illegal possession and transfer of firearms, violent crimes
involving firearms, and firearms trafficking. J snestisndiy served as a police officer with the
Chesterfield County Police Deparinent in Virginia for four years.
De In 2013, I received a Bachelor's degree in Criminal Justice from the State
~ University of New York at Buffalo in Buffalo, New York. Iam alsoa scabs af the ATF Special
Agent Basic Training program, which is conducted by the Federal Law Enforcement Training
Center at Glynco, Geneaia’ |
3. I submit this affidavit in support of a criminal complaint charging that, on or about
August 6, 2018, in the Eastern District of Virginia, the defendant, COREY O’NEAL PHIPPS, JR.
(“PHIPPS”), knowingly made a false statement and representation to Dance’s Sporting Goods, a

licensed dealer under the provisions of Chapter 44 of Title 18, United States Code, with respect to

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information required by the provisions of Chapter 44 of Title 18, United States Code, to be kept in
the records of Dance’s Sporting Goods, in that the defendant represented on the Federal Firearms
- Transaction Record, Form 4473, that the defendant was the actual buyer of the firearm, when in
fact he was not the actual buyer, in violation of Title 18, United States Code, Section 924(a)(1)(A).

4, The facts in this affidavit are based on my personal observations, my training and ~
experience, and information obtained from other law enforcement officers and witnesses. All
observations referenced in this affidavit that J did not personally make were relayed to me by the -
person(s) who made such observations or in reports that detailed the events described by those
person(s). This affidavit contains information necessary to establish probable cause, and it does
~ not include all of the information known to me or the covernment!

PROBABLE CAUSE
A. Firearm Recovery and Identification of PHIPPS
«5, On August 15, 2018, officers of the Washington D.C. Metropolitan Police . .

Department recovered a Glock, model 30S, .45 caliber pistol, bearing serial number BELT114
(hereinafter, the “Glock 308 1”), pursuant to a search warrant in another investigation. Law
‘enforcement subsequently conducted a check of the Glock 30S 1 through E-Trace, a gun tracing
database. On October-2, 2018s I reviewed a Fitearm Trace Summary indicating that PHIPPS .
purchased the Glock 30S 1 on or about August 6, 2018, from Dance’s Sporting. Goods located in
Colonial Heights, Virginia, within the Eastern District of Virginia. |

B. '  PHIPPS’ Firearms Purchases

6. Subsequently, I conducted a law enforcement database check and confirmed that
PHIPPS had a background check conducted at Dance’s Sporting Goods, which is a federal firearms

licensee (“FFL”). Based on my training and experience, I know that individuals are required to
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submit to a background check prior to the purchase ofa firearm from an FFL. In this case, PHIPPS
had a background check conducted on or about August 6, 2018.

7. The ATF maintains records of a “multiple sale.” A multiple sale is when an FFL
sells an individual’ more than one semi-automatic pistol capable of accepting a detachable
magazine during any five (5) consecutive business days. Based on ATF multiple sale records, ‘I
determined that on or about August 6, 2018, PHIPPS purchased three firearms at Dance’s Sporting
Goods, specifically (i) the Glock 308 1, identified i in Paragraph 5, Gi) a Glock, model 308, .45
caliber pistol, bearing serial nurober BF TL197 (hereinafter, the “Glock 308 2”), and (iii) a Smith
& Wesson, ‘SD40VE,, 40 caliber pistol, bearing serial number HFY9005 (hereinafter, the “Smith

' & Wesson SD40VE”).

8. On October 29, 2018, I received, from Dance’s Sporting Goods, copies of purchase
records of pups’ purchase of three firearms on or about August 6, 2018.. Dance’s Sporting
Goods provided a copy of the receipt and a copy of the ATF Form 4473 related to the purchase of
these firearms. Dance’s Sporting Goods also provided a copy of PHIPPS’ Virginia driver’s
license, which P PHIPPS presented at the time of the purchase. According to the August 6, 2018
receipt: ; . — |

a. PHIPPS purchased the Glock 30S I-for $599.99;
b. PHIPPS purchased the Glock 30S 2 for $599.99;
c. PHIPPS purchased the Smith & Wesson SD40VE for $279.99;
dd. PHIPPS purchased a 26-round magazine for a-Glock 308 for $14.99; and
e. PHIPPS purchased a 25-round magazine for a Smith & Wesson SD40VE for

$29.99.
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C. Interview of PHIPPS | |
9, . On December 2, 2019, PHIPPS consented to an interview, which took place at his
place of residence in Skippers, Virginia. ATF Special Agent Bernard Mensah and I interviewed :
PHIPPS. Prior to the interview, Special Agent Mensah and I identified ourselves as ATF agents,
and PHIPPS agieed to speak to us regarding his firearms purchases. | i
10. At the beginning of the interview, PHIPPS made a series of false statements
regarding the firearms. Specifically, PHIPPS claimed that certain of his firearms were stolen.
When PHIPPS was challenged about the veracity of these statements, PHIPPS admitted that these .
"statements were untrue. | .
11. - PHIPPS admitted that he actually purchased the firearms for another individual,
(known to law enforcement but identified herein by his initials “C.T.), PHIPPS stated that C.T.
asked him: to purchase firearms for CT., and that C.T. provided PHIPPS with the money to make
the. purchases. PHIPPS stated that C.T. drove him to Dance’s Sporting Goods, and, after
| _ purchasing the firearms, PHIPPS delivered the firearms immediately to CT. At the time of the
transaction, C.T. was joined by another individual, who PHIPPS believes lived in Washington,
| D.C. -PHIPPS claimed that all the firearms were given to CT. immediately after the purchase, but
‘that C.T. may have ultimately given the firearms to C.T.’s associate, who accompanied them to.
| Dance’s Sporting Goods.
12. PHIPPS stated that, in addition to paying for the firearms, C.T. promised to pay o
PHIPPS $100 or $150-as compensation for his straw purchase of the firearms. PHIPPS stated that, /

in actuality, C.T. paid PHIPPS $130 for purchasing the three guns.
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13.  PHIPPS stated that he believed C.T. asked PHIPPS to purchase the firearms—
rather than C.T. purchasing them himself— because C.T. was “trying to get something right with /
his court stuff.” | | |
D. ATE Form 447s
14. To complete the three firearms purchases discussed above, PHIPPS was required
to complete an ATF Form 4473, also known as a “Firearms Transaction Record,” at Dance’s
Sporting Goods. PHIPPS completed and signed this form on August 6, 2018.

_ 15. On the ATF Form 4473, Question 11(a) states, in part: “Are you the actual
transferee/buyer of the firearm(s) listed on this form? Warning: You are not the actual
transferee/buyer if you are acquiring the firearm(s) on behalf of another person. Ifyou are
not the actual transferee/buyer, the licensee cannot transfer the firearm(s) to you.” PHIPPS
checked “Yes” in response to this question. In this case, as he admitted in'the interview, PHIPPS
purchased the firearms for CT. and C.T. paid for the firearms. Thus, PHIPPS was not the actual
buyer and his affirmative response was a false statement. |

16. On the ATF Form 4473, the buyer must sign his or her name directly below the
following certification: “T certify that my answers in Section A are true, correct, and
complete.... I understand that answering’ “yes to question ll.a. if I am not the actual
transferee/buyer is a crime punishable as a felony under Federal law... ” PHIPPS signed his

‘name directly below this statement. |

17. At the December 2, 2019 interview, PHIPPS was asked to review the ATF Form

4473 connected with his August 6,.2018 firearms purchases. PHIPPS confirmed that he had

completed the form when purchasing the firearms.
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18. Through my training and experience, I am aware that federal law prohibits FFLs
from selling a firearm to a non-licensee purchaser “unless the [FF L] records the transaction on a
- firearms transaction record, Form 4473.” 27 C.F.R. § 478.124(a). I am further aware that the law
requires FFLs to retain “as a part of the required records, each Form 4473 obtained in the course ©
of transferring custody of the firearms.” Jd. Accordingly, any false statement a purchaser makes
on an ATF Form 4473 pertains to information an FFL is required by law to maintain.

19. I have confirmed, through ATF databases, that Dance’s Sporting Goods is a
| registered FFL. | | | |

20. Based on my training and experience, I know that the firearms discussed in this
affidavit, and particularly in Paragraph 7, constitute firearms, pursuant to Title 18, United States
Code, Section 921(a)(3), and were not manufactured in the Commonwealth of Virginia. Therefore, |
the firearms traveled in, and/or affected interstate commerce.

CONCLUSION

21. Based on the information contained in this affidavit, I submit that there is probable
cause to believe that, on or about August 6, 2018, in the Eastern District of Virginia, the defendant,
PHIPPS, knowingly made a false statement and representation to Dance’s Sporting Goods, a
licensed dealer under the provisions of Chapter 44 of Title 18, United States Code, with respect to
information required by the provisions of Chapter 44 of Title 18, United States Code, to be kept in

the records of Dance’s Sporting Goods, in that the defendant represented on the Federal Firearms
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_ Transaction Record, Form 4473, that the defendant was the actual buyer of the firearm, when in

fact he was not the actual buyer, in violation of Title 18, United States Code, Section 924(a)(1)(A).

Nobi Thomas
Special Agent
Bureau of Alcohol, Tobacco, Firearms and Explosives

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Sworn and subscribed to before me this day of February, 2020.

OQ /s/

Ivan D. Davis
United States Magistrate Judge
